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 7                            IN THE UNITED STATES DISTRICT COURT

 8                         FOR THE EASTERN DISTRICT OF CALIFORNIA

 9   EDWARD DON BROWN,

10                  Petitioner,                    No. 2:05-cv-1195 LKK DAD (HC)

11          vs.

12   WARDEN YATES,

13                  Respondent.                    ORDER

14                                       /

15                  Petitioner is a state prisoner proceeding pro se with an application for a writ of

16   habeas corpus pursuant to 28 U.S.C. § 2254. On December 13, 2010, a request for extension of

17   time to file a request for a certificate of appealability and for appointment of counsel prepared by

18   petitioner was received in the United States Court of Appeals for the Ninth Circuit. That

19   document was transferred to this court and entered on this court’s docket. On December 17,

20   2010, the document was construed as containing a notice of appeal which was processed to the

21   United States Court of Appeals for the Ninth Circuit

22                  The record reflects that petitioner’s application for a writ of habeas corpus was

23   denied by the district court on March 31, 2009, and judgment was entered on the same day. On

24   January 8, 2010, petitioner filed a motion pursuant to Fed. R. Civ. P. 60(b). That motion was

25   denied by the district court on August 31, 2010. In the same order, the district court denied

26   petitioner’s request for appointment of counsel and declined to issue a certificate of appealability.

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 1   Since the district court has denied petitioner’s request for appointment of counsel and declined to

 2   issue a certificate of appealability, this court will take no further action on the requests contained

 3   in the document filed by petitioner on December 13, 2010.

 4                  Accordingly, IT IS HEREBY ORDERED that the Clerk of the Court is directed to

 5   send a copy of this order to the United States Court of Appeals for the Ninth Circuit.

 6   DATED: January 3, 2011.

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